                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE


 UNITED STATES OF AMERICA

 v.                                                  Case No.: 1:17−cr−00079−HSM−SKL

 JEREMY L WOODS



                                                   ORDER



      The Court finds that defendant, Jeremy L Woods, does not have the funds to retain an attorney of
 defendant's choice and that defendant wants to be represented by counsel. As a condition of the appointment
 of counsel to represent defendant, the Court reserves the right to require the defendant to repay the
 government the reasonable value of the services rendered to defendant by the appointed counsel and any
 expenses in connection therewith. Accordingly, it is ORDERED the following counsel will be appointed to
 represent defendant:


 Martin Wayne Lester
 Lester Law
 3731 Hixson Pike
 Chattanooga, TN 37415

 423−402−0608



 ENTER.

                                                  s/Susan K Lee
                                                  UNITED STATES MAGISTRATE JUDGE




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